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UNITED STATES DISTRICT COURT

 

 

SOUTHERN DISTRICT OF NEW
YORK
x
SECURITIES AND EXCHANGE COMMISSION > :
Plaintiff, 3 19 Civ. 09439 (PKC)
- against - : ECF Case
TELEGRAM GROUP INC. and TON ISSUERINC. :
Defendants. :
x
NON-PARTY MEMORANDUM OF LAW IN

 

SUPPORT OF MOTION TO SEAL ITS CONFIDENTIAL DOCUMENTS

Non-Party EE who is identified as Investor B in the SEC’s Declaration of
Ladan Stewart (ECF No. 81) hereby moves for an order sealing the documents lodged with the
Court by the Plaintiff Securities and Exchange Commission as Exhibits D and E to the
Declaration of Investor B (PX2) in support of the SEC’s Motion for Summary Judgment (ECF
No. 79). Exhibits D and E to Investor B’s Declaration contain information and practices of
Investor B that are proprietary and confidential. Investor B respectfully requests that an order be
entered maintaining under seal these exhibits in their entirety in order to protect Investor B from
competitive and commercial harm by the publication of its confidential business information.

The SEC previously filed a motion to seal and redact identifying investor information (ECF
No. 28). As a result of this pending motion, identifying investor information is also redacted in
this motion and supporting documents. Since the SEC previously identified the non-party movant
here as Investor B, that nomenclature is also applied in this motion.

1 FACTS

Non-party RE is a venture capital investing family of funds. Declaration of
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aa filed herewith at { 1 (hereinafter referred to as “Declaration of Investor B”.)

Venture funds like Investor B achieve success by employing investment strategies and processes
that enable them to identify opportunities in the highly competitive venture capital business. Id. at
{| 4. Investor B distinguishes itself from its competitors by its ability to identify industry sectors of
need, formulate investment theses, keenly assess investments, and negotiate and market deal
structures. Id.

Investor B’s procedures for identifying opportunities and making profitable investments is its
central proprietary competitive advantage and is documented in its investment memoranda. Jd. at
{| 6. Investor B takes steps to maintain the confidentiality of its proprietary information and the
secrets of its investment memoranda. Jd. at { 7.

On October 30, 2019, Investor B produced Exhibits D and E in response to the SEC’s
document request in this litigation. Jd. at § 2 Exhibits D and E were subsequently referenced in
the Declaration of Investor B which was provided to the SEC and filed in connection with its
summary judgment motion as part of the Declaration of Ladan F. Stewart (ECF No. 81). In order
to protect the identity of the investors, the Declaration of Investor B was redacted by the SEC to
preserve confidential investor identifying information. However, the SEC’s redactions were
either incomplete or insufficient to protect the privacy of Investor B and multiple press reports
have specified the names of multiple investors. Investor B’s privacy has been compromised.

Il. LEGAL ARGUMENT

Pursuant to the directive of the Second Circuit in Lugosch v. Pyramid Co. of Onondaga,
435 F.3d 110, 119-120 (2d Cir. 2006) confidential documents should be sealed where
countervailing factors outweigh the presumption of public access to judicial documents, which
include “the privacy interests of those resisting disclosure, such as trade secrets and sources of

business information.” Dodona I, LLC v. Goldman, Sachs & Co., 119 F. Supp. 3d 152, 154
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(S.D.N.Y. 2015)(“trading strategies, objectives and transactions” are confidential and not subject
to the presumption of public access). In addition, Federal Rule of Civil Procedure 26(c) requires
protecting a person from undue annoyance, embarrassment, or oppression. The application of
these legal principles are explicitly heightened with respect to the privacy and proprietary interests
of non-parties, such as Investor B here, which courts have held “carry great weight in the
balancing of interests.” Dorsett v. Cty. Of Nassau, 762 F. Supp. 2d 500, 521 (E.D.N.Y. 2011); see
also Doe v. City of New York, No. 15-CV-117 (AJN), 2019 WL 4392533, at *2 (S.D.N.Y.
2019)(“courts take the privacy rights of third-parties seriously.”).

Exhibits D and E to the Declaration of Investor B fall squarely within the rubric of both
valuable proprietary trade secrets and sensitive business information and procedures that should
be sealed in their entirety.’ They contain and address secret confidential information central to the
core function of Investor B’s business. Declaration of Investor B at | 5; Cumberland Packing
Corp. v. Monsanto Co., 184 F.R.D. 504, 506 (E.D.N.Y. 1999)(trade secrets and “confidential
research” are sealable); In Re Digital Music Antitrust Litig., 321 F.R.D. 64, 82 (S.D.N.Y.
2017)(nformation pertaining to critical competitive “strategy” sealed). The documents should be
sealed in their entirety in light of the nature and degree of the impact of disclosure. Public
disclosure of these documents will result in substantial injury to Investor B. Declaration of
Investor B at § 8. United States v. Amodeo, 71 F.3d 1044, 1051 (2d Cir. 1995). This injury will
aggravate and compound the injury already inflicted upon investors due to the previous
insufficient redaction of identifying information.

Finally, sealing the investment memoranda and allowing limited redactions by the SEC to

 

t In addition, the substantive nature of the investment memoranda and their proprietary

analysis have no relevance to the legal and factual little issues raised by the parties pending
motions. As a consequence, these documents do not reach the level of important “judicial
documents” subject to the presumption of public access. Brown v. Maxwell, 929 F.3d 41, 49-
50 (2d Cir. 2019); see also Trump v. Deutsche Bank AG, 940 F.3d 146, 152 (2d. Cir.
2019)(documents not relevant to issues on appeal are not “judicial documents.”).

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remaining exhibits, is a narrowly tailored approach that balances the interests of privacy and
confidentiality of third parties and public access to judicial proceedings. See Lugosch v. Pyramid
Co. of Onondaga, 435 F.3d 110 at 120. In the alternative, if the Court decides against sealing
some or all of the proprietary information of Investor B in Exhibits D and E, it is submitted that
the Court should allow Investor B to work with the SEC to have them properly redacted.
It. CONCLUSION

For the foregoing reasons, Investor B hereby request that the Court permanently séal
Exhibits D and E to the Declaration of Investor B filed by the SEC as PX2 pursuant to the

attached proposed order.

Dated: February 4, 2020 Respectfully submitted,

 

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